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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


      BABY DOE et al.,

                     Plaintiffs,
                                                                 Civil Action No. 3:22-cv-49
      v.

      MAST et al.,

                     Defendants.


           NOMINAL DEFENDANTS’ STATEMENT IN SUPPORT OF PLAINTIFFS’
                       MOTION FOR PROTECTIVE ORDER

                                        INTRODUCTION

             In December 2022 and again in January 2023, Plaintiffs circulated among the

     parties a proposed protective order designed to govern how the parties would identify

     material produced through discovery in this case as confidential. In response, nominal

     defendants, the U.S. Secretary of State Antony Blinken and U.S. Secretary of Defense

     General Lloyd Austin (“Federal Defendants”), made suggestions intended to protect the

     United States’ interest in how United States Government information will be handled in

     this case. Anticipating—in part based on state court proceedings involving some of the

     same parties—that discovery productions from other parties in the case, as well as third

     parties, will include United States Government information, Federal Defendants suggested

     edits that would provide a mechanism by which Federal Defendants could request copies

     of productions and have an opportunity to review documents before they are used in this

     case or publicly disclosed. The suggested language similarly would allow other parties an

     opportunity to review such material before it could be publicly disseminated. After Federal
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     Defendants’ suggestions were circulated, none of the five individual defendants (“Non-

     Federal Defendants”) objected or commented, nor did any Non-Federal Defendant raise

     any other objection to Plaintiff’s draft protective order. Four of the five Non-Federal

     Defendants then chose not to object within the time period allowed by Local Rules after

     Plaintiffs filed their Motion for the Entry of Proposed Protective Order (“Pl. Mot.”) [ECF

     166] on February 13, 2023, with their Proposed Protective Order (“Proposed PO”) [ECF

     166-1] attached.

            A single Non-Federal Defendant, Richard Mast (“RMast”), did file an opposition

     to Plaintiffs’ Motion, among other things objecting to the specific language suggested by

     Federal Defendants. Federal Defendants therefore submit this Statement in order to explain

     the United States’ interests in regard to Plaintiffs’ Proposed PO and Federal Defendants’

     suggested revisions. 1 As described below, because the underlying circumstances giving

     rise to Plaintiffs’ claims against the Non-Federal Defendants involve a child, found by U.S.

     forces during a military operation in Afghanistan, who was in a U.S. military hospital in

     Department of Defense (“DoD”) custody for several months and was ultimately transferred

     by the United States to the Government of Afghanistan for family reunification, and

     because defendant Joshua Mast (“Mast”) is a DoD employee, Federal Defendants

     reasonably anticipate that materials produced by other parties in this case and by third




     1
       Federal Defendants are identified in the Amended Complaint as “nominal defendants,”
     and no claims are asserted against them. As explained in the parties’ Rule 26(f) report [ECF
     129], Federal Defendants do not concede they are subject to discovery in this action, and
     no party has identified any waiver of sovereign immunity pursuant to which Federal
     Defendants could be required to respond to discovery. The United States nevertheless has
     an interest in monitoring the disclosure and use of certain categories of United States
     Government information. In light of the United States’ interests, Federal Defendants
     therefore submit this Statement pursuant to 28 U.S.C. § 517.
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     parties may include United States Government information, including personally-

     identifying information of federal employees, as well as information implicating national

     security and law enforcement sensitivities. Federal Defendants’ suggested edits sought to

     preserve an opportunity to identify and take steps to protect such information before it is

     inappropriately used or disseminated by other parties in this case. Because Federal

     Defendants’ requested edits are entirely reasonable, they provide no basis for denying

     Plaintiffs’ Motion.

                                   RELEVANT BACKGROUND

             Plaintiffs first circulated a draft protective order to counsel for Non-Federal

     Defendants and Federal Defendants on December 2, 2022. After evidently receiving no

     response, Plaintiffs re-circulated the same draft on January 13, 2023. Federal Defendants

     then proposed limited edits, intended to allow parties to review material produced by other

     parties or by third parties. 2 On February 9, 2023, Plaintiffs circulated a draft that identified

     Federal Defendants’ proposed edits in redline, indicating that Plaintiffs had received no

     comments from any Non-Federal Defendant. On February 13, 2023, Plaintiffs filed their

     Motion and Proposed PO, which incorporates Federal Defendants’ proposed edits.

     Plaintiffs’ Motion indicates that, “[t]o date, only the Nominal Defendants have provided

     input” on the Proposed PO. Pl. Mot. at 2.

             By its terms, the Proposed PO allows any party in the case to designate material

     produced in discovery as confidential, provided that the party “reasonably believes that the

     material contains trade secret proprietary, commercially sensitive, or confidential



     2
      Federal Defendants’ proposed edits added paragraph (4) to section V of the Proposed PO
     and revised the second paragraph of section IX to include productions by Parties as well as
     Non-Parties.
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     information.” Proposed PO ¶ V(1). “Confidential information,” in turn, is defined as

     information that “qualif[ies] for protection under Federal Rule of Civil Procedure 26(c).”

     Id. ¶ II(3). Incorporating language suggested by Federal Defendants, the Proposed PO

     allows parties other than those who initiated or responded to a discovery request to request

     copies of the material that was produced in response to a request. See id. ¶ V(4). The

     Proposed PO further provides that all information produced in the litigation will be deemed

     “confidential” for a period of 15 days after it is produced to the party who served the

     discovery request and to any other party requesting a copy of the production in order to

     allow those parties to review the material and, as appropriate, designate information as

     confidential under the PO. Id. ¶ IX. The Proposed PO also sets forth procedures for

     resolving disputes regarding confidentiality designations, including judicial intervention.

     Id. ¶ VI(3).

             On February 27, 2023, RMast, through counsel, filed a Memorandum in Opposition

     to Plaintiff’s Motion for Protective Order (“RMast Opp”) [ECF 171]. RMast attached to

     his opposition over 150 pages of exhibits, much of which consists of or incorporates (even

     if misleadingly) United States Government information. Insofar as RMast identifies

     objections to the Proposed PO, he argues that Plaintiffs and Federal Defendants failed to

     show good cause for entry of the Proposed PO. Id. at 4. RMast also argues that entry of the

     Proposed PO would hinder his ability to gather evidence because he intends to widely

     publicize the case in the hope that as-yet unknown individuals will come forward on their

     own to offer evidence on his behalf. See id. at 7. RMast further argues that he will be

     prejudiced by the 15-day review period, during which produced material would be deemed




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     confidential as a preliminary matter, as well as by the requirement to meet and confer

     regarding disputes over confidentiality designations. Id. at 10.

                                             ARGUMENT

     I.      Good cause supports allowing Federal Defendants an opportunity to protect
             certain United States Government information, including identifying
             information of non-party federal employees.

             The Proposed PO submitted by Plaintiffs specifies as potential categories of

     protected information “trade secret, proprietary, commercially sensitive, or confidential

     information” that qualifies for protection under Rule 26(c). Proposed PO ¶¶ II(3), V(1).

     Although Federal Defendants do not know all the potential categories of information that

     might be produced by other parties in this case, or by third parties, that might qualify for

     protection under this language, Federal Defendants anticipate that produced material may

     contain United States Government information.

             In particular, produced material is likely to include documents, including e-mail

     transmitted or received by federal employees, that contain names, e-mail addresses,

     telephone numbers, and other identifying information of federal employees. Such

     information regarding individual employees is commonly protected from public disclosure

     due to the privacy interests of these individuals. See, e.g., Stonehill v. U.S. Dep’t of Justice

     Tax Div., No. 1:19-CV-03770, 2022 WL 407145, at *20 (D.D.C. Feb. 10, 2022) (upholding

     agency’s withholding of employee names from its FOIA response); Wash. Post Co. v.

     Special Inspector Gen. for Afghanistan Reconstruction, No. CV 18-2622 (ABJ), 2021 WL

     4502106, at *15 (D.D.C. Sept. 30, 2021) (recognizing “it is well-established that lower-

     level government employees in general have a privacy interest in their identities”).




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            Here, individual employee privacy interests are at an apex, and warrant protection

     under Rule 26(c), given that numerous federal employees were involved in various aspects

     of the circumstances underlying this case; the case has already attracted significant press

     coverage; and at least some Non-Federal Defendants, including RMast, have indicated their

     intent to disparage the United States’ actions in transferring the child to the Government of

     Afghanistan for family reunification and in continuing to maintain that that foreign policy

     decision was in accord with international law principles. E.g., RMast Opp at 7 n.3 (referring

     to “fraudulent machinations” by the State Department during the time period of the

     transfer); id. at 8 (accusing State Department employee as well as undersigned counsel of

     illegal conduct, apparently in connection with proceedings in another case). 3 Indeed,

     RMast expressly states in his opposition brief that he intends to widely disseminate

     whatever information he can in furtherance of these theories in order to entice people to

     come forward and support his views. See RMast Opp. at 7 (asserting that “public

     knowledge . . . is essential for witnesses . . . to come forward”). 4 Rule 26(c) allows a court

     to restrict public disclosure in order to protect persons “from annoyance, embarrassment,



     3
       Although RMast makes unjustified accusations against Donna Welton, former Assistant
     Chief of Mission at the U.S. Embassy in Afghanistan at the time the child was transferred
     to the Government of Afghanistan for family reunification, Federal Defendants do not
     intend to designate Ms. Welton’s name as confidential due to her high-level position.
     However, Ms. Welton was only one of many federal employees involved in the U.S.
     Government’s determination that acceding to the Government of Afghanistan’s request and
     reuniting the child with her Afghan family was the proper course of action, particularly in
     light of family trace results that were deemed reliable by the International Committee of
     the Red Cross, the Government of Afghanistan, and the United States. The United States’
     continued adherence to that position likewise represents the collective judgment of the
     relevant federal agencies.
     4
       RMast’s counsel has already published an account of this case that includes inaccurate
     descriptions of the actions of State Department and DoD employees.
     https://www.americanfreedomlawcenter.org/case/legal-battle-to-save-baby-doe/
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     oppression, or undue burden or expense.” See Fed. R. Civ. P. 26(c)(1)(B). Good cause

     therefore supports the designation of names and other identifying information of federal

     employees as confidential under the Proposed PO.

     II.    The Proposed PO’s 15-day window for review of discovery received by other
            parties before produced material may be used in the case or publicly disclosed
            is reasonable.

            The Proposed PO’s 15-day window that RMast challenges, as well as the provision

     allowing parties other than the producing party or receiving party to receive copies of

     produced documents on request, see Proposed PO ¶¶ V(4), IX, are reasonable and should

     be upheld. These provisions allow each party in the case, including Federal Defendants, to

     identify as confidential material that implicates that party’s interests and qualifies as

     confidential. For example, as discussed above, Federal Defendants anticipate that other

     parties, including defendant Mast, a U.S. servicemember, as well as third parties who are

     themselves or who communicated with federal employees in connection with the child,

     may produce documents that include identifying information for federal employees, or

     other United States Government information that properly qualifies as confidential. 5 The

     provisions will afford Federal Defendants an opportunity to review such information before

     it is publicly disclosed or inappropriately used by other parties in this case. Federal

     Defendants will then be able to designate United States Government information as

     confidential if it appropriately qualifies as confidential under the PO. Federal Defendants

     will also be able to identify and initiate other steps that may be necessary to protect United

     States Government information.



     5
       Federal Defendants are aware that material produced by the parties and by third parties
     in the state case contained significant amounts of United States Government information
     and thus reasonably anticipate the same will be true in this case.
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            Notably, such steps to protect United States Government Information were

     necessary in the ongoing state court proceeding involving the same parties. There, the

     respondents’ introduction of certain United States Government information into the case

     with no notice to or proper authorization from the United States resulted in a situation

     where a number of filings and other documents were ultimately identified as containing

     highly sensitive or classified information. 6 The state court properly ordered the parties to

     destroy their copies of that material. However, RMast’s recent filings indicate an effort to

     inappropriately introduce the same material into this case. 7 Such an effort is particularly

     misguided where it appears designed to denigrate a specific individual based on pure

     speculation regarding the meaning of certain United States Government information that

     neither RMast nor any other Non-Federal Defendant has the knowledge, access, or




     6
       Normally, litigants in a case where the federal government is not a party are required to
     seek authorization from federal agencies, under regulations promulgated under United
     States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951), in order to use United States
     Government information in the case. United States v. Soriano-Jarquin, 492 F.3d 495, 504
     (4th Cir. 2007) (“Pursuant to 5 U.S.C. § 301, federal agencies may promulgate so-
     called Touhy regulations to govern the conditions and procedures by which their
     employees may testify about work-related issues at trial.”); Donatoni v. Dep’t of Homeland
     Sec., 184 F. Supp. 3d 285, 286 (E.D. Va. 2016) (Touhy regulations “govern the manner in
     which persons may subpoena documents and testimony from” federal agencies). DoD
     found it necessary to rescind Touhy authorization for the use of official information in the
     state case, and require more specific requests in conformity with DoD Touhy regulations,
     after becoming aware of the filings at issue, which were identified by other federal agencies
     as containing highly sensitive or classified information. RMast selectively attaches some
     of this Touhy correspondence to his filing. See RMast Opp. ex. 22 [ECF 171-22], at 5.
     7
       RMast acknowledges that the parties in the state case and their counsel (which include
     RMast) were ordered to destroy or delete all copies of certain documents, yet his recent
     motion asks this Court to circumvent the United States’ efforts to protect highly sensitive
     and classified information by ordering the Clerk of Court to “request in writing that the
     state court clerk from the Fluvanna County Circuit Court provide a copy” of those very
     documents. See RMast Mot. [ECF 174] at 1-2. Federal Defendants plan to respond
     separately to that motion within the time allowed by Local Rules.
                                                  8
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     expertise to properly evaluate, nor was ever properly authorized to have in the first place.

     In any event, RMast’s filing itself demonstrates the likelihood that, absent the procedures

     set forth in the Proposed PO, parties in this case who receive United States Government

     information through discovery may use or disclose it in an inappropriate manner. The

     proposed 15-day window would forestall such inappropriate uses and disclosures in this

     proceeding by affording Federal Defendants an opportunity, during the brief two-week

     period in which discovery material will remain confidential, to identify sensitive United

     States Government information and initiate any steps that might be appropriate in order to

     protect it.

     III.    RMast fails to identify significant prejudice.

             To the extent RMast would have preferred different meet and confer procedures or

     other changes to the draft protective order, he could have suggested those changes at any

     time after Plaintiffs circulated their initial draft on December 2, 2022, but he failed to do

     so. In his opposition brief, RMast again fails to identify significant prejudice from the

     procedures identified in the Proposed PO or explain how, in his view, it should be modified

     to reduce such prejudice while still allowing all parties in the case to protect legitimate

     confidentiality interests. In particular, RMast fails to identify significant prejudice from the

     provision requiring produced material to be kept confidential for a 15-day period after

     production to all parties requesting a copy. Even if RMast’s apparent desire to publicize

     material obtained through discovery is a legitimate interest, he would be able to do this

     with respect to material that is not designated as confidential under the PO and that is not

     otherwise identified as inappropriate for use or dissemination.




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             Rather than identifying any real prejudice, RMast appears to rely on the United

      States’ efforts to protect highly sensitive or classified information in the state court

      proceeding as a basis to speculate that the Proposed PO will somehow be used by Federal

      Defendants for nefarious purposes. However, the United States can appropriately act to

      control access and use of such information pursuant to the President’s Article II powers

      under the Constitution. See Dep’t of the Navy v. Egan, 484 U.S. 518, 527 (1988). The fact

      that it did so in the state court proceeding is no basis to reject the Proposed PO in this case.

                                            CONCLUSION

             For the foregoing reasons, RMast’s objections to Federal Defendants’ suggested

      edits to the Proposed PO, as incorporated by Plaintiffs, should be rejected.

      March 6, 2023                                   Respectfully submitted,

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